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                                               Law Offices of
                                         Susan K. Marcus
                              29 Broadway, Suite 1412, New York, NY 10006
                     T: 212-792-5131  F: 888-291-2078 E: susan@skmarcuslaw.com

                                                      July 12, 2019

The Honorable Jesse M. Furman1
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States v. Lisa Bershan, Barry Schwartz, 17 Cr. 638 (JMF)

Dear Judge Furman,

        Christopher Madiou and I write on behalf of Lisa Bershan and Barry Schwartz to
respectfully request a slight schedule change to their previously requested bail
modification. The Court granted their request on June 21, 2019 to travel to from July 15th
to August 4th, 2019 [Doc 161]. Counsel for Ms. Bershan requires Ms. Bershan to be in
New York on July 16, 2019. Therefore, Ms. Bershan and Mr. Schwartz request a slight
modification of the schedule: they request permission to travel from July 17, 2019
through August 7, 2019.

        Counsel has provided the Government and Pretrial with a proposed flight
itinerary, the addresses where Ms. Bershan and Mr. Schwartz will be staying, and the
names of the people they will be visiting and staying with. We have discussed this travel
request with the Government and Pretrial in detail and they have no objection to our
revised application.

         Thank you for your consideration of this request.

                                                      Sincerely,

                                                      /s/ Susan K. Marcus, Esq.
                                                      Counsel for Barry Schwartz

                                                      /s/ Christopher Madiou
                                                      Counsel for Lisa Bershan

cc:      AUSAs Negar Tekeei and Christine Magdo (via ECF)
         Pretrial Officer Joshua Rothman (via email)



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  On July 11, 2019 an ECF notice was sent saying that Joel Margulies’ case was transferred to Judge
Rakoff. It appears from the docket that just Mr. Margulies’ case was transferred; therefore this motion
relating to Mr. Schwartz and Ms. Bershan has been addressed to Judge Furman.
